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          EXHIBIT 55
Rikers Island detainees expose lack of medical care         https://www.ny1.com/nyc/all-boroughs/public-safety/2021/09/22/rikers-...
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